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                 EXHIBIT 3
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         SUPREME COURT OF NEW YORK
         COUNTY OF NEW YORK
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                                                                                 :
         THE PEOPLE OF THE STATE OF NEW YORK,                                    :
                                                                                 :
                  by and through LETITIA JAMES,                                  :   Index No. 452197/2022
                  Attorney General of the State of New York,                     :
                                                                                 :   I.A.S. Part 43
                  Plaintiff,                                                     :
                                                                                 :   Hon. Robert R. Reed
                                    v.                                           :
                                                                                 :   AMENDED COMPLAINT
         CVS Pharmacy, Inc., Wellpartner, LLC,                                   :
         CVS Albany, L.L.C., and Caremark, L.L.C.,                               :
                                                                                 :
                                                                                 :
                  Defendants.                                                    :
                                                                                 :
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                 The People of the State of New York (the “People”), by their attorney, LETITIA JAMES,

         Attorney General of the State of New York (the “NYAG”), bring this action for injunctive relief,

         equitable monetary relief, and civil penalties, under N.Y. Gen. Bus. L. § 340 et seq. and N.Y. Exec. Law

         § 63(12), against CVS Pharmacy, Inc., Wellpartner, LLC, CVS Albany, L.L.C., and Caremark, L.L.C.

         (collectively “Defendants” or “CVS”). This action is brought to enjoin and remediate CVS’s ongoing

         anticompetitive scheme by which it forces New York safety net hospitals and other health care providers

         (“Covered Entities”) in the federal 340B Drug Pricing Program (“340B Program”) to also purchase

         administrative services from its recently-acquired subsidiary, Wellpartner LLC (“Wellpartner”), as a

         condition for allowing Covered Entities to contract with CVS retail and specialty pharmacies to process

         340B-eligible prescriptions filled by patients at CVS pharmacies. The purpose of this action is to prevent

         CVS from continuing this unlawful anticompetitive per se illegal tying scheme, and to equitably

         remediate past harm.

                 Plaintiff, the People of the State of New York, by LETITIA JAMES, Attorney General of the

         State of New York, alleges:

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                                                    INTRODUCTION

                1.      CVS owns and operates the largest chain of retail pharmacies in the United States,

         including numerous pharmacies in New York, through its wholly-owned subsidiary, CVS Pharmacy,

         Inc. It also owns and operates the largest specialty pharmacy in the United States that is operated as a

         dba by another CVS entity, Caremark, L.L.C.. A third wholly-owned CVS subsidiary, CVS Albany,

         L.L.C., is the relevant CVS contracting entity by which CVS implemented the challenged conduct in

         New York. And, a fourth wholly-owned subsidiary, Wellpartner, is a 340B third-party administrator

         (“TPA”) that provides technology solutions to hospitals and other healthcare providers participating in

         the 340B Program. Since its acquisition of Wellpartner, CVS has told hospitals and other providers

         participating in the 340B Program (“Covered Entities”) that if they want to realize 340B Savings from

         patient prescriptions filled at CVS pharmacies and CVS specialty pharmacies, they have to use

         Wellpartner as their TPA. They cannot choose another TPA. This constitutes an illegal tie prohibited by

         the Donnelly Act.

                2.      By requiring Covered Entities to use its wholly-owned TPA, CVS effectively forces

         Covered Entities to either forgo substantial savings from the 340B program (i.e., not collect any savings

         at all for patients who fill their 340B eligible prescriptions at a CVS pharmacy) or forgo utilization of

         another TPA that might offer better pricing, quality, or service to the Covered Entity, or with which it

         already has a business relationship. Some Covered Entities incur or have incurred substantial costs to

         transition and train personnel for Wellpartner services that were otherwise unwanted, and some Covered

         Entities bite the bullet and pay for two different 340B TPA providers – i.e., the one that they really want,

         and then also the one that is forced on them (Wellpartner) by the tying arrangement.

                3.      This suppression of competition in the TPA market: (1) harms safety-net hospitals by



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         depriving them of the benefits of choice in a fully competitive TPA market, including competition based

         on price, quality, and service; and (2) serves to artificially enhance the market power of CVS’s TPA,

         reducing its incentive to compete and innovate while allowing CVS as a parent corporation to capture

         larger shares of the 340B Savings than it otherwise would in a more competitive environment.

         Ultimately, that means more 340B Savings diverted to CVS and less 340B Savings for Covered Entities

         to use for improving and expanding care at safety net facilities. 1 This anticompetitive tie harms the

         communities served by these institutions and undermines the goals of the 340B program.

                 4.       Congress created the federal 340B Program to improve the financial condition of safety

         net healthcare providers. 2 The 340B Program “requires participating drug manufacturers to provide

         significant rebates [to Covered Entities] … as a condition of having their outpatient drugs covered by

         Medicaid.” 3 The 340B Program allows Covered Entities to purchase pharmaceuticals from

         manufacturers at a discount and to dispense the discounted medicines to patients with eligible

         prescriptions. The Covered Entities then direct the savings realized in these purchases to expanding and

         enhancing patient care.

                 5.       Safety net health care providers in New York obtain substantial savings from the 340B

         Program, which may be critical to the viability of these Covered Entities, and, in turn, critical to the



         1
           Safety net health care providers have long faced financial challenges because they provide high levels of uncompensated
         care. Typically, a large share of their patients are governmentally insured by Medicare or Medicaid or are uninsured, while a
         relatively small share of their patients are commercially insured. Commercial insurance plans generally provide higher
         reimbursement rates to health care providers than do government insurance plans, offsetting the costs of providing
         uncompensated care. Because safety net providers are reimbursed at commercial rates for only a small proportion of the care
         they provide, they frequently cannot offset the costs of uncompensated care that they offer to indigent patients. The 340B
         Program exists to support the financial condition of safety net healthcare providers. See https://www medpac.gov/wp-
         content/uploads/import_data/scrape_files/docs/default-source/reports/may-2015-report-to-the-congress-overview-of-the-
         340b-drug-pricing-program.pdf
         2
           See https://www medpac.gov/wp-content/uploads/import_data/scrape_files/docs/default-source/reports/may-2015-report-to-
         the-congress-overview-of-the-340b-drug-pricing-program.pdf
         3
           https://www.ncsl.org/research/health/340b-drug-pricing-program-and-states.aspx

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         health of the surrounding community. 4 Many of these institutions provide treatment to underserved areas

         or populations, and include hospitals, community-based health centers, emergency departments,

         academic medical centers, and free clinics in New York.

                   6.   In order to maximize the benefits of the 340B Program, each Covered Entity will

         typically contract with a network of pharmacies (each a “Contract Pharmacy”) that are frequented by the

         Covered Entity’s patient population. By contracting with a pharmacy, such as CVS, the Covered Entity

         can receive 340B Program rebates on prescriptions filled at that pharmacy. The Contract Pharmacy

         typically obtains an additional fee from the Covered Entity for agreeing to the relationship.

                   7.   Covered Entities (not Contract Pharmacies) are responsible for complying with the rules

         of the 340B Program, and must ensure that scripts are eligible, savings are properly tracked and

         calculated, and inventories are replenished. To meet these responsibilities, Covered Entities typically

         retain a TPA. Prior to CVS’s acquisition of Wellpartner, CVS retail and specialty pharmacies, like most

         other Contract Pharmacies, worked with many different TPAs retained by Covered Entities.

                   8.   Under the 340B Program rules, hospitals and other Covered Entities are strictly

         prohibited from “steering” patients to a particular pharmacy (including to a Contract Pharmacy). And,

         patients typically have no visibility into whether a pharmacy is a Contract Pharmacy (allowing the

         Covered Entity to potentially obtain 340B Savings from a given script), nor do patients receive any

         financial incentive to select a particular pharmacy. As a result, regardless of a Covered Entity’s network

         of Contract Pharmacies, patients continue to fill scripts at their preferred pharmacy—usually the

         pharmacy most convenient to where they live or work.

                   9.   A Covered Entity typically seeks to enter into a Contract Pharmacy relationship with a


         4
             Id.

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         particular pharmacy based on the volume of the Covered Entity’s patients’ prescriptions filled at that

         pharmacy. Since a Covered Entity cannot alter its patients’ choice of pharmacy, each Contract Pharmacy

         has substantial leverage to extract a percentage of the 340B Program benefits that a Covered Entity can

         obtain. A Contract Pharmacy that provides substantial 340B Savings for a Covered Entity, such as CVS,

         cannot be replaced – the Covered Entity cannot simply switch its business, i.e., its patients’

         prescriptions, to another Contract Pharmacy.

                10.     340B Contract Pharmacies receive a financial benefit from serving as Contract

         Pharmacies. This benefit typically is in the form of a prescription dispensing fee. However, because

         extracting a large percentage of 340B Program benefits—intended to support safety net hospitals—

         through its dispensing fees could attract regulatory attention, a large Contract Pharmacy such as CVS

         has a strong incentive to avoid doing so.

                11.     For years prior to the 2017 acquisition of Wellpartner, Covered Entities were free to

         choose which TPA they wished to use to engage with CVS Contract Pharmacies. There are various

         TPAs that have historically provided services to Covered Entities in New York, under their respective

         contracting and pricing arrangements. Covered Entities could choose among competing TPA service

         providers, based on price, quality, and service.

                12.     However, following its 2017 acquisition of Wellpartner, CVS launched an unlawful

         scheme to force Covered Entities that contracted with CVS for retail or specialty contract pharmacy

         services to also use Wellpartner as a TPA. This scheme illegally tied Wellpartner TPA services, which

         had previously been one of many TPA products available in the market (the “TPA Services Market”) to

         CVS’s Contract Pharmacy services (“CVS Contract Pharmacy Market”). Specifically, CVS announced

         that use of Wellpartner would be “exclusive,” meaning that CVS would not allow a competitor to



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         Wellpartner to provide TPA Services for CVS Contract Pharmacies.

                    13.      Covered Entities had to use Wellpartner, or their 340B benefit would go up in smoke for

         patients that go to CVS. Since Covered Entities cannot, by law, steer their patients to a particular

         pharmacy 5, and since patients themselves are not generally involved or even aware of the 340B program,

         CVS has monopoly power as to contract pharmacy services for 340B prescriptions filled at CVS

         pharmacies. Under these circumstances, there is no interchangeable product. No other pharmacy offering

         contract pharmacy services to a Covered Entity can competitively constrain CVS, because Covered

         Entities cannot direct patients to another pharmacy in the event of a price increase or quality decrease.

         This is an unavoidable consequence of the market structure and rules of the 340B program – not the

         Covered Entities’ preferences or choices.

                    14.      Safety net health care providers are the consumers of these services. They are harmed by

         this scheme because it diverts 340B Savings associated with prescriptions that patients fill at CVS

         pharmacies – savings intended for Covered Entities like themselves – to the pockets of CVS. Given how

         prevalent CVS pharmacies are in New York, Covered Entities could lose substantial funds needed for

         their work as safety net health care providers – unless they also agree to contract Wellpartner for TPA

         Services, whether they want Wellpartner or not. The diversion of these funds into CVS’s coffers comes

         at the expense of the intended beneficiaries of the 340B Program – the Covered Entities – which could

         otherwise use such funds to improve or expand their quality of care, or for salaries of nurses and other

         essential staff.

                    15.      In addition, Defendants’ tying arrangement causes even broader harm to competition

         because the scheme financially pressures Covered Entities to use Wellpartner for all their 340B Program


         5
             This prohibition on steering is sometimes referred to as the “Anti-Steering Rule.”

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         administration needs – not just CVS – lest they have to host, pay for and integrate multiple TPA

         platforms.

                16.     CVS’s actions undermine the aim of the 340B Program and hurt the financial condition of

         safety net healthcare providers. With its illegal tie, CVS has harmed the competitive process and has

         caused substantial harm to the market for the provision of TPA Services in New York, foreclosing the

         ability of other TPA providers to compete on the merits.

                17.     New York patients are the ultimate victims of CVS’s scheme. When CVS siphons off

         340B Program money from the very hospitals and health care providers for which the Program is

         intended, it deprives safety net hospitals and health care providers of funds that could be used to improve

         quality and access to health care for the neediest New Yorkers—including New Yorkers without health

         insurance or an ability to pay for health care.

                                             JURISDICTION AND PARTIES

                18.     Plaintiff, the People of the State of New York, through the Attorney General, brings this

         action in its sovereign capacity and pursuant to the Donnelly Act, N.Y. Gen. Bus. Law §§ 340-342-c and

         New York’s Executive Law § 63(12). New York sues to obtain injunctive relief, redress of injury to the

         State, its general economy, and its citizens, and seeks equitable monetary relief, including disgorgement

         and/or restitution, as well as costs, and civil penalties, for CVS’s unlawful conduct.

                19.     This Court has subject matter jurisdiction over the claims asserted in this action pursuant

         to Article 6, Section 7 of the New York State Constitution, Section 342 of the New York General

         Business Law, and Section 63 of the New York Executive Law.

                20.     Defendants directly transacted business and/or contracted to supply goods and services to

         purchasers within the State of New York. The causes of action alleged in this Complaint arise from such



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         acts. Accordingly, this Court has personal jurisdiction over CVS under N.Y. CPLR § 302(a)(1).

                    21.      Venue is proper in New York County pursuant to N.Y. CPLR § 503 because Plaintiff

         resides in New York County.

                    22.      Plaintiff Letitia James is the Attorney General of the State of New York and brings this

         action on behalf of the People of the State of New York to protect the State of New York and its

         residents from Defendant’s exclusionary and exploitative, anticompetitive business practices.

                    23.      Defendants are incorporated and have their principal places of business as follows:

                             a)       Defendant CVS Pharmacy, Inc. is incorporated under the laws of Rhode Island,

         with its principal place of business at One CVS Drive, Woonsocket, Rhode Island, 02895;

                             b)       Defendant Wellpartner, LLC is a Delaware limited liability company, with its

         principal place of business at One CVS Drive, Woonsocket, Rhode Island, 02895;

                             c)       Defendant CVS Albany, L.L.C. is a New York limited liability company, with its

         principal place of business at One CVS Drive, Woonsocket, Rhode Island, 02895; and

                             d)       Defendant Caremark, L.L.C. is a California limited liability company, with its

         principal place of business at One CVS Drive, Woonsocket, Rhode Island, 02895.

                                                       FACTUAL BACKGROUND

                    24.      The 340B Program was established by the Veterans Health Care Act of 1992 to help

         eligible health care providers “stretch scarce Federal resources as far as possible, reaching more eligible

         patients and providing more comprehensive services.” 6 It is codified in and named for section 340B of

         the Public Health Service Act, 42 U.S.C. § 256b. 7 The 340B Program is budget-neutral for the federal

         government but provides substantial benefit to participating hospitals and health care providers, by

         6
             H.R. Rept. No. 102-384(II), at 12 (1992).
         7
             H.R. Rep. No. 102-34(II), at 11 (1992) (Conf. Rep.).

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         requiring participating drug manufacturers to sell prescription pharmaceuticals to Covered Entities at a

         low price.

         A.      340B Covered Entities

                 Background

                 25.      The 340B Program allows Covered Entities to “obtain lower prices on the drugs that they

         provide to their patients.” 8 Under the 340B Program, the U.S. Health Resources and Services

         Administration (“HRSA”) calculates a 340B maximum price (“340B Price”) for each covered outpatient

         drug, which typically is substantially less than the wholesale or retail price of the drug. Covered Entities

         may then purchase covered drugs from the drug’s manufacturer at the 340B Price. Most drug

         manufacturers offer 340B discounts to Covered Entities because the federal government requires them to

         offer such discounts to have their drugs covered by Medicaid. 9

                 26.      Drugs purchased at the 340B Price by a Covered Entity can be dispensed to fill eligible

         340B prescriptions at the Covered Entity’s in-house pharmacy (e.g., an in-clinic or in-hospital

         pharmacy) or, more frequently, at an outside retail pharmacy (such as a Walgreens, a CVS, or an

         independent community pharmacy) that has contracted with the Covered Entity to dispense eligible

         prescriptions (a Contract Pharmacy).

                 27.      Generally, an eligible 340B prescription is dispensed at an in-house or Contract

         Pharmacy at the contract price that the pharmacy and drug manufacturer have negotiated with third-party

         payors. In other words, the pharmacy processes the prescription as a prescription paid by the patient’s

         commercial or government (e.g., Medicare) insurance. The Covered Entity then retains the difference



         8
           Id. at 7.
         9
           See https://www medpac.gov/wp-content/uploads/import_data/scrape_files/docs/default-source/reports/may-2015-report-to-
         the-congress-overview-of-the-340b-drug-pricing-program.pdf

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         between the 340B Price and the insurance reimbursement, minus any fees paid to TPAs or Contract

         Pharmacies. This surplus is sometimes referred to as the Covered Entity’s “340B Savings.”

                    28.      The insured patient who presents a 340B-eligible prescription at a pharmacy is unaware

         of whether the prescription will be filled as a 340B prescription. The patient receives no direct benefit

         and suffers no direct detriment if the prescription is processed as a 340B prescription.

                    29.      The Covered Entity realizes 340B Savings from its patients’ 340B-eligible prescriptions

         only if those prescriptions are dispensed at an in-house or Contract Pharmacy. If the patient fills a 340B-

         eligible prescription at pharmacy unaffiliated with or not under contract with the Covered Entity, the

         Covered Entity receives no benefit.

                    30.      Under the terms of the 340B Program, Covered Entities are not permitted, and have never

         been permitted, to direct or steer patients to any particular pharmacy.

                    31.      As of July 2021, more than 4,440 Covered Entities serving low-income patients across

         New York were enrolled in the 340B Program. 10 Covered Entities rely on 340B Savings to fund patient

         care services to underserved and vulnerable populations. Savings from the 340B Program are essential to

         the hospitals and other providers that participate in the 340B Program if they are to maintain and expand

         healthcare access for disadvantaged communities.

              Covered Entities’ Compliance with the 340B Program’s Requirements and Other Laws

                    32.      HRSA verifies that a health care provider meets the statutory requirements to become a

         340B Program Covered Entity. The 340B Program statutorily defines the types of health care providers

         eligible to participate, which include Federally Qualified Health Centers (“FQHCs”), critical access

         hospitals, Ryan White HIV/AIDS Program grantees, rural referral centers, sole community hospitals,


         10
              https://340bopais hrsa.gov/coveredentitysearch. As of July 29, 2021, 4,441 Covered Entities operate in New York.

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         black lung clinics, community health centers, family planning clinics, and tuberculosis clinics. 11

                 33.      Covered Entities bear sole legal responsibility for compliance with the complex

         regulatory requirements that bind Covered Entities participating in the 340B Program. 340B Program

         requirements include meeting preliminary enrollment criteria, annual re-registration in the 340B

         Program, 12 avoidance of duplicate discounts related to Medicaid programs, and not steering patients to

         fill 340B eligible prescriptions at particular pharmacies. 13 All Covered Entity records pertaining to 340B

         Program participation are subject to audit by HRSA.

                 34.      340B Program Covered Entities must also ensure that the drugs purchased by

         Covered Entities at the discounted rate are not diverted to patients filling ineligible prescriptions. 14

         HRSA requires that the patient filling an eligible prescription must: (i) have an established

         relationship with the Covered Entity such that the entity maintains that individual’s healthcare

         records, (ii) receive health care services from a provider who is employed by or affiliated with that

         Covered Entity, and (iii) receive healthcare services in line with those for which the Covered Entity

         was granted funding or FQHC status. 15

                 35.      340B Covered Entities are also responsible for ensuring that 340B Program

         prescriptions are strictly segregated from prescriptions filled through Medicaid programs. Covered

         Entities must ensure that Medicaid drug rebates are not charged to drug manufacturers for drugs

         dispensed pursuant to the 340B Program. 16 Such “duplicate discounts” can occur if the

         manufacturer first provides a direct discount on the price of a drug purchased by a Covered Entity

         11
            42 U.S.C. § 256b; 42 U.S.C. § 256b(a)(4); 42 U.S.C. § 256(b)(4).
         12
            42 U.S.C. § 256(b)(5)(D).
         13
            See 42 U.S.C. § 256(b)(5).
         14
            42 U.S.C. § 256(b)(5)(B); see H.R. Rep. No. 102-384(II), at 16.
         15
            Notice Regarding Section 602 of the Veterans Health Care Act of 1992 Patient and Entity Eligibility, 61 Fed. Reg. 55157
         (1996). Disproportionate share hospitals may issue 340B drugs to patients who do not meet the third requirement.
         16
            42 U.S.C. § 256(b)(5)(A); see H.R. Rep. No. 102-384(II), at 16.

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         through the 340B program and then provides a duplicate discount by paying out a required rebate if

         that same drug is used to fill a Medicaid patient’s prescription. 17 The 340B program requires

         Covered Entities to establish a mechanism to segregate Medicaid prescriptions from 340B

         prescriptions, ensuring that a prescription is not processed both as a Medicaid prescription

         (triggering a Medicaid drug rebate) and a 340B prescription (which is filled using drug stock

         purchased by the Covered Entity at the discounted 340B price). 18 A Covered Entity may be liable

         for damages to the drug manufacturer if the Covered Entity erroneously obtains duplicate discounts

         on a drug. 19

                 36.      The rules governing the 340B program place full responsibility for compliance on the

         Covered Entity. Failure to comply with 340B Program requirements may also give rise to monetary

         liability to pharmaceutical manufacturers if there were duplicate discounts, as described above. More

         drastically, failure to comply with 340B Program requirements can result in the Covered Entity’s

         removal from the 340B Program. 20 Covered Entities therefore make every effort possible to comply with

         340B program rules.

                 37.      Contract Pharmacies who partner with Covered Entities to dispense 340B Program

         prescriptions bear no legal liability for failure to comply with the regulatory requirements of the 340B

         Program.

                 38.      As stated above, the 340B program additionally prohibits Covered Entities from directing

         or “steering” patients to fill 340B-eligible prescriptions at any particular pharmacy. Indeed, after issuing

         a prescription, HRSA guidance states that the prescriber “will inform the patient of [their] freedom to


         17
            H.R. Rep. No. 102-384(II), at 16.
         18
            42 U.S.C. § 256(b)(5)(A)(ii).
         19
            42 U.S.C. § 256(b)(5)(D); 75 Fed. Reg. 10272, 10277.
         20
            42 U.S.C. § 1320a-7(b)(1)(A) (Federal Anti-Kickback Statute);

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         choose a pharmacy provider.” 21

                  39.      340B Covered Entities, including many New York hospital systems, understand the

         requirements of the 340B Program to prohibit their staff from telling a patient with a 340B eligible

         prescriptions that the patient should go to a specific pharmacy. One large health system explained that

         they did not direct patients with 340B eligible prescriptions to particular pharmacies due to the

         longstanding rule that it is always the patient’s consent and the patient’s choice, so they never direct

         patients to specific pharmacies. Another hospital explained that when a patient with a 340B eligible

         prescription gives them a pharmacy to call the prescription into, they call the prescription into the

         requested pharmacy, regardless of whether that pharmacy is one of the hospital’s Contract Pharmacies.

                  40.      TPAs, including Wellpartner, read HRSA’s patient choice provision the same way. The

         Wellpartner Contract Pharmacy Services, 340B Contract Pharmacy Policy and Procedure with Internal

         Audit Recommendations compels its employees to “[r]eview all communications and promotional

         materials for the 340B program to ensure that all patients have a right to choose their pharmacy and no

         steerage to Contract Pharmacies is occurring.”

                  41.      In addition to the regulatory requirements of the 340B Program, Covered Entities are

         prohibited from steering patients to specific pharmacies pursuant to the provisions of other state and

         federal laws. Covered Entities whose physicians or other staff members steer patients to specific

         pharmacies might violate the regulatory requirements of the 340B Program, state and federal anti-

         kickback statutes, and state laws concerning health provider licensing.

                  42.      The diagram on the following page summarizes the 340B process.


         21
            Notice Regarding 340B Drug Pricing Program—Contract Pharmacy Services, 75 Fed. Reg. 10272, 10278. The entire
         statement reads: “The Covered Entity will inform the patient of his or her freedom to choose a pharmacy provider. If the
         patient does not elect to use the contracted service, the patient may obtain the prescription from the Covered Entity and then
         obtain the drug(s) from the pharmacy provider of his or her choice.”

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            1. Doctor prescribes medication to 340B-eligible patient and sends prescription to pharmacy of patient’s choice.
            2. If patient selects Contract Pharmacy, Covered Entity’s TPA confirms 340B eligibility.
            3. Contract Pharmacy bills Insurance Carrier for appropriate covered amounts
            4. Insurance Carrier remits payment of appropriate covered amounts to Contract Pharmacy
            5. Contract Pharmacy remits Insurance Carrier proceeds to Covered Entity. TPA pays dispensing fee to Pharmacy
               from those proceeds.
            6. TPA pays its own fee out of Insurance Carrier proceeds.
            7. TPA remits balance of Insurance Carrier proceeds to Covered Entity.
            8. Pharmacy dispenses medication to Patient On behalf of Covered Entity, TPA analyzes drug dispensation
               patterns and quantities and periodically replenishes stock at contract pharmacies.
            9. TPA manages replenishment process for Covered Entity by ordering drugs at 340B prices, paying Wholesaler
               for drugs, and ensuring that replenishment stock is directed to correct pharmacy.
            10. TPA periodically reconciles all steps of process and performs audit function for Covered Entity compliance.


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          B. 340B Contract Pharmacies

                    Background

                    43.     Covered Entities can dispense drugs purchased at the 340B Price at the Covered Entity’s

         in-house pharmacy if it has one. 340B Covered Entities may also elect to dispense 340B drugs to

         patients through Contract Pharmacy services, whereby the Covered Entity signs a written contract with a

         pharmacy to provide pharmacy services to the Covered Entity’s 340B patients. These contract

         arrangements typically provide that the Covered Entity pay the Contract Pharmacy a per-prescription

         dispensing fee for filling 340B prescriptions.

                    44.     Since 2010, HRSA has allowed Covered Entities to contract with multiple outside

         pharmacies to fill 340B prescriptions. The number of pharmacies that contract with Covered Entities

         under the auspices of the 340B Program grew 4,228% from 2010 to 2020. 22 75% of those Contract

         Pharmacy relationships are with large for-profit retail chains, such as CVS. 23

                    45.     Most patients fill their eligible prescriptions at Contract Pharmacies, rather than at the

         Covered Entity’s in-house pharmacy.

                    46.     Because Covered Entities lose the 340B Savings associated with any script not filled at an

         in-house or contracted pharmacy, most Covered Entities choose to work with outside Contract

         Pharmacies to maximize the 340B Savings captured by the Covered Entity.

                    47.     When selecting pharmacies with which to contract, many Covered Entities attempt to

         contract with the pharmacies that fill the highest volume of the Covered Entity’s 340B prescriptions.

         Most prescriptions issued today are e-prescriptions, where the prescription is electronically transmitted



         22
              https://media.thinkbrg.com/wp-content/uploads/2020/10/06150726/BRG-ForProfitPharmacyParticipation340B_2020.pdf
         23
              https://340breform.org/wp-content/uploads/2021/04/AIR340B_340B-Contract-Pharmacies.pdf at 3.

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         from the healthcare provider’s office to the pharmacy. E-prescribing technology allows Covered Entities

         to identify the pharmacies to which their healthcare providers send prescriptions. The Covered Entity

         thereby knows which pharmacies are likely to fill the highest volume of their 340B prescriptions and

         seeks to contract with those pharmacies so that the Covered Entity can capture 340B Savings associated

         with its 340B Program prescriptions.

                48.     CVS is one of two major national retail pharmacy chains. CVS has a significant presence

         across New York, and prescriptions filled at CVS pharmacies generate significant 340B Savings for

         many Covered Entities. Many New York Covered Entities’ 340B-eligible patients are existing customers

         of CVS and choose to have all of their prescriptions – including 340B-eligible prescriptions –

         electronically sent to CVS. For many New York Covered Entities, a potential loss of the CVS 340B-

         eligible patients would be substantial. They must either contract with CVS or lose even more by

         foregoing those benefits altogether (since, as discussed above, in Paragraphs 13, 30, 33, 38, 40, and 41,

         they cannot steer patients).

                49.     With this raw power in the market, CVS has been able to force Covered Entities to use its

         subsidiary’s TPA services if they want to take advantage of the 340B Savings – regardless of price or

         quality, and regardless of other options that would otherwise be available in a competitive TPA Services

         Market. Specifically, as discussed, below, CVS’s market power enables CVS to force Covered Entities

         to use Wellpartner TPA services; this tie ultimately siphons off 340B funds meant to benefit hospitals

         and other Covered Entities, or rural and poor communities in New York.

                50.     Specialty pharmacies – which fill prescriptions for many high-cost treatments, some of

         which also require special handling – dispense a large and increasing proportion of prescriptions in the




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         United States. Specialty prescriptions made up nearly 40% of outpatient prescription revenues in 2021. 24

         CVS is the largest specialty pharmacy in the U.S., accounting for 27% of pharmacy prescription

         revenues from specialty drugs in 2020. 25 Use of specialty pharmacy prescriptions has increased in recent

         years.

                    51.     The Anti-Steering Rule applies to Covered Entities in the specialty pharmacy context as

         well, as the Rule prevents Covered Entities from directing patients to use a particular specialty

         pharmacy. Because they cannot steer their patients to alternative specialty pharmacies, New York

         Covered Entities that have a significant share of patients who use CVS Specialty as their specialty

         pharmacy regard CVS Specialty as a necessary Contract Pharmacy in the specialty pharmacy space.

                    CVS’s Enhanced Market Power by Virtue Of Owning A Pharmacy Benefit Manager

                    52.     CVS’s market power in retail and specialty pharmacy is enhanced by its corporate

         affiliation with CVS Caremark, which is one of only three major Pharmacy Benefit Managers (“PBMs”).

         As described, this relationship effectively allows CVS Caremark to “steer” patients (including non-340B

         patients) to CVS pharmacies over other competing pharmacies. Although this kind of “steering” does

         not violate the 340B Program’s Anti-Steering Rule, it gives CVS even more leverage as their pharmacies

         continue to expand by virtue of their PBM.

                    53.     PBMs are entities that coordinate prescription drug programs on behalf of health

         insurance plans. This coordination includes negotiating drug prices and rebates from pharmaceutical

         manufacturers and establishing benefit structures for health insurance plan sponsors (for example, co-

         pay and other price and fee structures for policyholders). Three major PBMs in the United States—CVS

         Caremark, Express Scripts, and OptumRx—together make up 90% of the PBM market. CVS Caremark,

         24
              https://drugchannelsinstitute.com/files/2022-PharmacyPBM-DCI-Overview.pdf
         25
              https://www.drugchannels.net/2021/05/dcis-top-15-specialty-pharmacies-of.html

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         owned by CVS Health, has about a 30% 26 share of the PBM market.

                    54.     PBMs, in consultation with health insurance plan sponsors, determine whether there are

         “in network” pharmacies for particular health insurance plans, and whether those “in network”

         pharmacies will offer enhanced benefits (e.g., lower co-pays, the ability to fill 90-day instead of 30-day

         prescriptions) for patients relative to the benefits offered at “out-of-network” pharmacies.

                    55.     For patients whose health plans use the CVS Caremark PBM, CVS Caremark (together

         with the health insurance plan sponsor) can effectively steer patients to CVS retail and specialty

         pharmacies by offering enhanced benefits if the patient fills their prescription at a CVS pharmacy

         instead of competitor pharmacies. For example, a patient may pay a lower co-pay on prescriptions filled

         at CVS pharmacies or may be able to fill a prescription for a 90-day supply of medication (rather than

         the conventional 30-day supply).

                    56.     CVS Caremark’s efforts to steer have proved effective: in 2014, CVS specialty

         pharmacies dispensed nearly 60% of CVS Caremark-covered prescriptions for specialty drugs, and CVS

         retail pharmacies dispensed nearly 40% of all CVS Caremark-covered non-specialty prescriptions.

                    57.     In New York, many health plans use CVS Caremark as their PBM, and CVS Caremark

         sometimes steers patients insured by those plans to fill prescriptions at CVS pharmacies. For example,

         some health plans offered by Capital Region insurer MVP Health, which uses Caremark as its PBM,

         designate CVS as the preferred or exclusive pharmacy for patients. Likewise, over 200 Blue Cross/Blue

         Shield of Western New York plans use CVS Caremark as the plan PBM and make CVS Specialty the

         exclusive specialty pharmacy for patients. Additionally, Aetna, the health insurance company owned by

         CVS Health, uses CVS Caremark as its PBM, and designates CVS Specialty pharmacies as preferred


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              https://www.beckershospitalreview.com/pharmacy/pbms-ranked-by-market-share-cvs-caremark-is-no-1 html

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         pharmacies for patients insured by Aetna. Finally, many major Medicare Part D plans use CVS

         Caremark as a PBM and make CVS retail or specialty pharmacies preferred pharmacies.

                58.     Covered Entities are aware of CVS Health’s ability to steer 340B-eligible patients to CVS

         retail and specialty pharmacies by establishing insurance plan pharmacy benefit design through its CVS

         Caremark PBM. One health system noted that CVS, as a PBM, dictates where the health system’s patients

         go. Thus, although Covered Entities cannot effectively steer patients to a particular pharmacy due to 340B

         Program prohibitions, CVS Health is able to use its CVS Caremark PBM to steer patients to use its

         pharmacies. This creates the perverse result that Covered Entities — the intended beneficiaries of the 340B

         Program — cannot steer patients to maximize the Covered Entities’ 340B Savings, but CVS, through its

         CVS Caremark PBM, can steer patients to particular pharmacies through benefit design. This reinforces

         CVS’ market power.

         C. 340B Third Party Administrators


                59.     In order to ensure compliance with the 340B Program requirements and to assist with

         implementation of the 340B program, Covered Entities contract with TPAs. TPAs provide billing

         software and compliance tools to administer the Covered Entities’ participation in the 340B

         Program. TPAs are typically for-profit businesses and charge Covered Entities a fee for TPA

         Services.

                60.     TPAs also manage Covered Entity relationships with Contract Pharmacies. They

         determine and confirm the 340B eligibility of prescriptions and maintain records of dispensed

         drugs. They track and replenish inventory at Contract Pharmacies. They calculate the Covered

         Entity’s 340B Savings and coordinate the transfer of those funds from the Contract Pharmacy to the

         Covered Entity. They also assist the Covered Entity in selecting pharmacies with which to contract,

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         and sometimes assist in the negotiation of contracts with a Covered Entity’s Contract Pharmacies.

                    61.     Covered Entities have no close substitute for the specialized 340B workflow software and

         other technologies provided by TPAs. Because these technologies are specially optimized to reconcile

         data streams from multiple parties to ensure compliance with 340B Program rules and regulations,

         software and technologies that are not designed for the 340B context cannot, in practice, be adapted to

         the 340B context. Due to the complexity of 340B Program administration, Covered Entities generally

         purchase these services rather than attempting to self-provide them through their internal information

         technology departments.

                    62.     Again, 340B Covered Entities bear all the legal risk of non-compliance with the

         complex requirements of the 340B Program. Although Covered Entities cannot and do not

         physically oversee the dispensing of their 340B-purchased drugs at Contract Pharmacy locations,

         the Covered Entities remain solely legally liable for any penalties (monetary or otherwise) if any

         340B Program rule or regulation is broken when a drug is dispensed by a Contract Pharmacy.

         Because the Covered Entity bears all 340B Program legal compliance risk, 27 Covered Entities typically

         take great care in selecting a TPA.

                    63.     TPA technology works by capturing and monitoring data concerning 340B-eligible

         prescriptions from both the Covered Entity and its Contract Pharmacies. Covered Entities have a

         substantial interest in being able to select a TPA to ensure that the TPA with which they partner employs

         strong compliance mechanisms and oversight procedures that Covered Entities trust and want to use.

                    64.     The Covered Entities’ interest in carefully choosing a TPA is further magnified by the


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              42 U.S.C. § 256(b)(5)(D); 75 Fed. Reg. 10272, 10277

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         fact that, for Covered Entities that work with Contract Pharmacies, the majority of 340B-eligible

         prescriptions are typically filled at Contract Pharmacies. The bulk of the Covered Entity’s legal

         compliance risk is thus associated with Contract Pharmacy prescription dispensing. TPAs, which

         assesses data from Contract Pharmacies, are therefore managing the bulk of the Covered Entity’s legal

         compliance risk.

                65.     When selecting a TPA, Covered Entities take into consideration factors such as

         quality, price, audit performance, and references from other Covered Entities. This process only

         works well in a competitive marketplace.

                66.     For example, prior to CVS’ illegal tying scheme, one New York hospital system used a

         competitive “request for proposals” process to select a TPA. In one instance, after evaluating

         approximately five different proposals on metrics such as experience, service quality, audit performance,

         references from similar hospitals, and price, that hospital system chose to work with a TPA other than

         Wellpartner. Through this process, the hospital system ranked Wellpartner among the middle-to-lower

         end of bids because of its relatively high cost and because it was not widely used by other very large

         health systems.

                67.     Beyond the baseline costs, Covered Entities also have an interest in carefully choosing

         their TPA because they prefer for a single TPA to manage the data streams from their different Contract

         Pharmacies. Although it is technologically possible to work with multiple TPAs to manage this data,

         it is not efficient to do so – both because of duplicate costs and because using a single TPA streamlines

         and makes uniform the flow of information that Covered Entities receive from multiple Contract

         Pharmacies. Covered Entities using multiple TPAs may not know which TPA is performing a



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         particular function, making it difficult for them to ensure that they are fully complying with 340B

         program requirements. Partnering with a single TPA across multiple Contract Pharmacies allows

         Covered Entities to further manage their compliance risks while minimizing their administrative costs.

                68.     Prior to its 2017 acquisition by CVS, Wellpartner worked with a variety of Contract

         Pharmacies on behalf of its TPA clients, including with CVS retail and specialty pharmacies.

                69.     Prior to its 2017 acquisition of Wellpartner, CVS retail and specialty pharmacies were

         available to contract with Covered Entities that had relationships with a number of TPAs, including

         MacroHelix, PSG, RxStrategies, Sentry, Verity Health, and Wellpartner. During this time period, CVS

         did not condition access to its retail and specialty pharmacies on the Covered Entity’s use of any

         particular TPA.

                70.     In 2014, CVS engaged another TPA – Sentry – to work with CVS Health to develop a

         “backbone” product for CVS. This product was intended to provide CVS retail and specialty pharmacies

         with a single point of integration for the 340B Program, streamlining pharmacy chain operations,

         inventory management, and financial reimbursements across all CVS retail and specialty pharmacy

         relationships with Covered Entities.

                71.     As a matter of internal CVS policy, CVS generally refused to contract with more than one

         Covered Entity per CVS retail location prior to its 2017 acquisition of Wellpartner. This internal policy

         was implemented to facilitate inventory management at CVS retail locations. No 340B Program rule or

         regulation requires that Contract Pharmacies only work with a single Covered Entity, and many other

         Contract Pharmacies work with multiple Covered Entities.

                72.     The Sentry backbone product was intended to ease inventory management and other


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         Contract Pharmacy administrative functions to make it easier for CVS retail locations to contract with

         more than one Covered Entity, and thereby to expand CVS’s Contract Pharmacy role in the 340B space.

         The planned backbone product would have been interoperable with a number of TPAs.

                73.     In addition to its work on the “backbone” that would ease inventory management

         concerns and help CVS to contract with multiple Covered Entities at each retail pharmacy, CVS had

         other expansion objectives related to the 340B Program. In one internal strategy document, CVS

         recognized that 340B sales were “estimate[d]…at $16.2 billion” in 2016. On the specialty pharmacy

         side, CVS intended to “[e]xpand CVS Specialty 340B footprint by contracting 90% of Covered Entities

         by end of 2018.” To capture additional 340B business at its pharmacies, CVS planned to “restructure

         [its] approach to client enrollment and pricing model” to encourage Covered Entities to use CVS

         Contract Pharmacies in order to “continue to grow CVS retail relationships.” CVS planned to expand its

         activity related to the 340B Program even absent an acquisition of Wellpartner.

               CVS ACQUISITION OF WELLPARTNER LLC & THE ANTICOMPETITIVE TIE

                74.     Prior to its acquisition of Wellpartner, Covered Entities contracting with CVS retail or

         specialty pharmacies could partner with the TPA of their choice. And, as discussed above, CVS was on

         its way to implementing a new model that would add profitable business and serve more Covered

         Entities – without restricting competition. But then, CVS changed direction towards an anticompetitive

         alternative: Instead of deploying the Sentry backbone that was already in development, and that would

         have allowed multiple TPAs to interoperate with CVS Contract Pharmacies, CVS instead acquired

         Wellpartner and implemented a brazenly anticompetitive tying scheme. CVS did this to squeeze 340B

         Savings out of safety net hospitals and other Covered Entities in New York, beyond what it was already



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         charging in official fees.

                75.     Specifically, after acquiring Wellpartner in 2017, CVS Health announced that it would

         require all Covered Entities using CVS as a Contract Pharmacy to also use Wellpartner as their TPA for

         related 340B compliance services – or lose access to CVS retail and specialty pharmacies. Thus, CVS

         forced Covered Entities to use Wellpartner as a condition of using CVS Contract Pharmacies.

                76.     This illegal tie puts Covered Entities in the position of having to either (i) forgo 340B

         Savings for patients who choose to go to CVS; (ii) agree to use Wellpartner as their TPA for CVS and

         then pay additional fees to another TPA to work with other Contract Pharmacies, at higher regulatory

         risk; or (iii) effectively give into to CVS’ market power and use Wellpartner as their TPA for all 340B

         TPA Services, with all Contract Pharmacies, while simultaneously surrendering the long term benefits of

         quality competition. These are dismal choices that add up to no choice at all.

                                                 WELLPARTNER LLC

                77.     Wellpartner LLC (“Wellpartner”) has been a wholly-owned subsidiary of CVS Health

         since 2017, when CVS began its scheme.

                78.     Prior to its acquisition in 2017 by CVS Health, Wellpartner provided 340B TPA services

         to some Covered Entity clients and operated a small number of mail-order pharmacies. As of 2015,

         Wellpartner provided TPA services for approximately 100 Covered Entities.

                79.     Historically, Wellpartner’s business model was to charge the Covered Entity a fee for

         each 340B prescription dispensed. Wellpartner charged the greater of (1) a small flat fee per prescription

         or (2) a percentage of the difference, or “spread,” between the commercial reimbursement for the drug

         and the drug’s 340B Price.

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                80.     CVS Health acquired Wellpartner in November 2017. The illegal tie was part of the deal

         from the beginning. Specifically, in internal documents, Wellpartner touted the positive strategic and

         financial impact that would flow to CVS following the Wellpartner acquisition, noting that the

         acquisition would allow CVS to “[r]eturn [v]alue to [s]hareholders” by “[g]enerating approximately $1.9

         billion of incremental revenue with very high margins.” Wellpartner envisioned that CVS would realize

         this revenue by requiring Covered Entities to contract with Wellpartner as a TPA in order to access CVS

         retail and specialty pharmacies.

                81.     It was part of the plan to notify Covered Entities, post-acquisition, that their contract

         arrangement with CVS pharmacies would terminate within 90 days, and that, “should they continue to

         desire a Contract Pharmacy arrangement [the Covered Entity] will need to have it administered by

         Wellpartner.” This compulsory use of Wellpartner as TPA would allow CVS to “retai[n]” 40% of the

         340B Covered Entity’s spread because CVS/Wellpartner would both “administer [the Covered Entity

         relationship] and dispense” the 340B pharmaceuticals to Covered Entity patient. Wellpartner expected

         this to generate an “[i]ncremental revenue opportunity” of $568 million related to CVS retail pharmacy

         sales and $1.37 billion related to CVS specialty pharmacy sales.

                82.     CVS had the same scheme in mind. Internally, CVS shared the view that the Wellpartner

         acquisition would allow for the generation of significant revenue. In an internal document analyzing the

         impact of the Wellpartner acquisition, CVS recognized that “340B Savings are more important to

         Covered Entities than ever,” and that “[a]ccess to CVS Health retail and specialty pharmacies is

         critically important to Covered Entities.” Since many Covered Entities need to contract with CVS

         because a significant amount of their patients choose to go CVS Pharmacies, CVS convinced itself that

         it was entitled to divert as much as possible of the 340B Benefits to itself. CVS felt entitled to “‘Top of

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         the Market’ pricing” for Wellpartner TPA services and sought to take a percentage “of the 340B spread”

         as the Wellpartner administrative fee for all 340B prescriptions. To ensure that CVS would realize

         substantial increased revenues as a result of the Wellpartner acquisition, it determined that “Wellpartner

         will evolve to the exclusive 340B TPA for all of CVS Health’s retail and specialty pharmacies by

         December 31, 2018.” Indeed, internal documents explain a plan to make Wellpartner the “only option” if

         Covered Entities want access to 340B Savings arising from transactions at CVS stores.

                83.     CVS was not blind to the impact that this would have on hospitals and other Covered

         Entities. A CVS senior vice president at the time testified that “[t]he hospital industry [is] a low margin

         business” and that hospitals do not have “big operating margins.” He admitted that “the 340B savings

         are […] important to them to kind of help them continue to execute on their mission.” He also

         acknowledged that he had tried to “flag” that “there would be some providers or Covered Entities that

         might not be happy” about the tying scheme.

                84.     In December 2017, CVS began to notify Covered Entities across the nation (including

         Covered Entities in New York) that the Covered Entities no longer had a choice of TPA if they wished

         to continue using CVS pharmacies as 340B Contract Pharmacies. On December 18, 2017, CVS

         announced in writing to its Covered Entity customers that it had completed an acquisition of

         Wellpartner, and that Wellpartner would be “the exclusive 340B program administrator for all CVS

         Health retail and specialty pharmacies.” CVS informed its customers that it would “transition all

         Covered Entities to Wellpartner by December 31, 2018.”

                85.     Following the CVS announcement that it would require Covered Entities to use

         Wellpartner as a TPA in order to access CVS retail and specialty pharmacies, Wellpartner experienced a



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         surge of business. Whereas Wellpartner only had 155 Covered Entity clients in 2017 (including in New

         York) before the scheme, by 2021, that figure had increased eightfold because of the anticompetitive tie.

                86.     The reason for the surge in Wellpartner’s business is apparent: after the 2017 CVS

         announcement, a number of Covered Entities began using Wellpartner to preserve their access to 340B

         Savings for patients who happen to go to CVS. For example, at least two major New York City health

         systems began working with Wellpartner in addition to their pre-existing TPA after CVS implemented

         its tie. This is because many Covered Entities must have CVS retail and/or specialty pharmacies as

         Contract Pharmacies in order to realize sufficient savings from the 340B Program. For some health

         systems in New York State, 340B savings from prescriptions filled at CVS pharmacies constitute a

         quarter of the health system’s overall 340B savings.

                87.     Some of the Covered Entities that began using Wellpartner TPA services after CVS

         implemented its anticompetitive plan had previously decided against working with Wellpartner during

         competitive RFP processes. For example, one Covered Entity that had previously decided against using

         Wellpartner noted that TPA services are not all alike, and that “the devil is in the details,” such as the

         quality of the data, and the robustness of the initial setup. That Covered Entity also indicated that the

         transition to Wellpartner might add more than $100,000 in otherwise avoidable costs. But, given the

         larger sums that would be lost if CVS refused to contract with them for not complying with the scheme,

         they had little choice. Another Covered Entity estimated that switching to Wellpartner for their five

         CVS specialty pharmacy locations would increase their costs by $1.4 million.

                88.     Another Covered Entity that did not want to switch to Wellpartner lamented that, given

         how many of their patients are required to use CVS pharmacies under their health plans, they would



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         stand to lose tens of millions of dollars of 340B Program benefit if they did not acquiesce.

                89.     And yet another Covered Entity expressed concern that using two TPAs would be costly,

         require integration, and would expose the hospital to regulatory risk because of the increased chance of

         errors. Among other things, the hospitals would have to train internal auditors on a second system, if

         they hypothetically chose to use two TPAs, notwithstanding the costs. That Covered Entity also noted

         that using two TPAs would increase the risk of a data breach involving sensitive patient data. Given the

         number of their patients who go to CVS pharmacies, they felt they had no choice in practice but to

         switch to Wellpartner.

                90.     Faced with the loss of 340B Savings from CVS retail and specialty pharmacies, these

         Covered Entities were in effect compelled to begin using Wellpartner. Some Covered Entity customers

         converted all of their TPA business to Wellpartner; others continued to work with their legacy TPA for

         all pharmacies other than CVS pharmacies, despite the additional cost associated with using two TPAs.

                91.     As previously noted, working with multiple TPAs is difficult for Covered Entities.

         Forcing Covered Entities to work with multiple TPAs (i.e., Wellpartner in addition to their previous

         TPA) places Covered Entities at higher risk of noncompliance with the requirements of the 340B

         program. Working with more than one TPA also increases a Covered Entity’s internal information

         technology costs, as – among other things – they must have staff trained to interface with two different

         TPA technology platforms, must maintain computer infrastructure sufficient to handle data exchanges

         with two TPAs, and must have an in-house administrative team capable of managing two TPA

         relationships. The cost of having multiple TPAs is substantial for the Covered Entities.

                92.     Further, the Wellpartner TPA fees were higher for some Covered Entities than the fees


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         charged by their legacy TPAs. Many competitor TPAs charge fees based on utilization (e.g., a “per

         click” fee for each 340B script processed by the TPA). CVS’s Wellpartner fees for all but the least

         expensive prescriptions were instead typically based on a percentage of the “340B spread,” or the

         difference between the Covered Entity’s acquisition cost of the drug and the reimbursed amount. For

         Covered Entities who had been using a lower-cost TPA, the compulsory switch to Wellpartner for CVS

         transactions resulted in the transfer of a huge amount of 340B Savings from the Covered Entity to CVS

         due to Wellpartner’s percentage-based fee model. Covered Entities have complained to CVS that

         Wellpartner’s fees were “excessive.”

                93.      Knowing that Covered Entities could not effectively steer patients to a particular

         pharmacy, and that Covered Entities were therefore beholden to CVS if they wanted to realize 340B

         Savings from prescriptions filled at CVS pharmacies, CVS mandated the use of Wellpartner TPA

         services for Covered Entities seeking to contract with CVS retail and specialty pharmacies. This

         arrangement allowed CVS to collect TPA fees as well as dispensing fees from the Covered Entities’

         340B Savings.

                94.      This illegal tying scheme provided enhanced and ill-gotten revenues to CVS. By

         unlawfully forcing 340B Covered Entities to use Wellpartner TPA services for CVS pharmacy

         transactions, CVS increased its “cut” of the Covered Entities’ 340B Savings. The scheme harmed

         competition by preventing TPAs other than Wellpartner from being able to compete with Wellpartner on

         a level playing field. This harmed the Covered Entities by depriving them of savings critical to carry out

         their public health missions. Moreover, it harmed the people of the State of New York by reducing the

         amount of 340B Savings that could be used by Covered Entities to expand access to care and offer vital

         health services to underserved communities.

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            THE RELEVANT MARKETS: THE MARKET FOR CVS 340B CONTRACT PHARMACY
                  SERVICES AND THE MARKET FOR 340B PROGRAM TPA SERVICES
                95.     The relevant markets at issue in this lawsuit are (1) the CVS Contract Pharmacy Market;

         and (2) the TPA Services Market.

                The CVS Contract Pharmacy Market

                96.     CVS’s provision of Contract Pharmacy services to 340B Program Covered Entities (the

         “CVS Contract Pharmacy Market”) is a relevant market. It is the “tying” market over which Defendants

         have market power.

                97.     The CVS Contract Pharmacy Market is a relevant market because of the peculiarities of

         the 340B Program. Specifically, as discussed below, the existence of the Anti-Steering Rule and the fact

         that patients themselves receive no benefit from and are generally unaware of the 340B program,

         together mean that patients go where they choose to go, and they do not respond to price pressures that

         affect Covered Entities. Changes in fees charged to Covered Entities cannot be passed on to patients to

         change their behavior, nor do the fees directly cause patients to go to different brand pharmacies. Since a

         Covered Entity cannot substitute one Contract Pharmacy in response to a price increase, each Contract

         Pharmacy, such as CVS, that provides substantial savings to a Covered Entity is its own relevant market.

                98.     A large number of New York State Covered Entities use CVS’s retail and specialty

         pharmacies as 340B Contract Pharmacies and do not view other Contract Pharmacies as reasonably

         interchangeable with CVS. As discussed, Covered Entities can identify where their 340B-eligible

         prescriptions are sent but lack all ability to direct these prescriptions to a particular pharmacy because

         Covered Entities (and their prescribing physicians) are barred from steering prescriptions to any specific

         pharmacy by 340B Program regulations and federal and state anti-kickback laws. If a Covered Entity


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         does not contract with CVS as a Contract Pharmacy, it will not realize 340B Savings from any 340B-

         eligible prescription that is filled at a CVS location. Thus, if Covered Entities want to realize 340B

         Savings from patient prescriptions that are filled at CVS pharmacies, the Covered Entities have no

         alternative but to engage with CVS as a Contract Pharmacy.

                99.     Because Covered Entities cannot steer their patients from CVS to another pharmacy, the

         cross-elasticity of demand for CVS 340B retail and specialty Contract Pharmacy services and any

         potential alternative Contract Pharmacy is at or near zero. No other pharmacy offering retail or specialty

         Contract Pharmacy services to Covered Entities can competitively constrain CVS, because Covered

         Entities have no ability to direct patient flows to any particular pharmacy. CVS thus has market power –

         in fact monopoly power – in the CVS Contract Pharmacy market.

                100.    CVS’s market power is apparent from the behavior of Covered Entities after CVS

         implemented its illegal tie: although they did not want to, many Covered Entities began using CVS 340B

         TPA services. One CVS official noted, after implementation of the tie, that “some provider

         groups…were not overjoyed with having to move” to Wellpartner. The fact that many Covered Entities

         switched to Wellpartner, despite their reservations, substantiates CVS’s considerable power in the

         market for Contract Pharmacy services.

                101.    The geographic scope of the CVS Contract Pharmacy Market is the United States. CVS

         retail and specialty pharmacies nationwide can serve as Contract Pharmacies to Covered Entities located

         in New York State. For example, a Covered Entity anywhere in the State could contract with CVS

         Specialty and CVS retail stores nationwide. Courts routinely recognize that the healthcare market is

         represented by a two-stage model of competition and that determination of the geographic market must



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         take into account the commercial realities of the specific industry involved.

                The 340B TPA Services Market

                102.     The provision of 340B TPA Services to Covered Entities – including the identification of

         340B-eligible prescriptions, the implementation of tracking software to prevent drug diversion and

         duplicate discounts, and the maintenance of an auditable record of 340B workflows and payments –is a

         relevant market (the “340B TPA Services Market”). It is the tied market, into which Defendants are

         expanding and demanding supra-competitive fees, using their leverage in the tying market.

                103.     The geographic scope of the 340B TPA Services Market is the United States. Firms in the

         340B TPA Services Market, which include Wellpartner, Sentry, RxSolutions, MacroHelix, and others,

         compete for business across the country, and Covered Entities engage firms nationwide to provide 340B

         TPA services.

            CVS ILLEGALLY TIED TPA SERVICES TO ITS CONTRACT PHARMACY SERVICES
                104.     340B Program TPA Services and CVS 340B Contract Pharmacy services are separate

         products in separate markets. Firms offering 340B TPA Services are distinct from the firms offering

         340B Contract Pharmacy services, and Covered Entities have the ability to choose between TPA service

         providers – unless forced to do otherwise as they are now. Covered Entities do not usually seek to

         purchase these two products from the same firm. On the contrary, Covered Entities frequently prefer to

         have a 340B Program TPA services vendor that does not operate Contract Pharmacies, as they view

         independent 340B Program TPA services vendors as more likely to advocate effectively for Covered

         Entity clients in the Covered Entity’s dealings with Contract Pharmacies.

                105.     Defendants have tied access to the CVS Contract Pharmacy Market to Covered Entities’


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         agreement to also hire their subsidiary Wellpartner in the independent 340B TPA Services Market.

                106.    By coercing Covered Entities to use CVS’s 340B Program TPA services (the “tied”

         services) as a condition of obtaining access to the Contract Pharmacy services of CVS retail and

         specialty pharmacies (the “tying” services), CVS orchestrated and implemented a per se unlawful tying

         scheme. CVS’ conduct is a naked restraint on trade that constitutes a per se illegal violation tying

         arrangement. The challenged arrangement also violates the “rule of reason” analytical framework

         deployed in antitrust jurisprudence.

                107.    CVS’s tying regime harmed, and continues to harm, competition. This tie has foreclosed

         other providers of 340B Program TPA services from competing to provide 340B Program TPA services

         to Covered Entities using CVS retail and specialty Contract Pharmacies. Moreover, the tie has

         significant spillover effects: because Covered Entities do not like to work with multiple TPAs, and

         because TPAs other than Wellpartner cannot administer CVS Contract Pharmacy relationships, TPAs

         cannot compete for the entirety of a Covered Entity’s Contract Pharmacy “book of business” if the

         Covered Entity engages CVS pharmacies as Contract Pharmacies. This fundamentally alters the playing

         field, harming the competitive process by giving Wellpartner an unfair competitive advantage.

                108.    A not insubstantial volume of commerce is affected by CVS’s tie. Hundreds of Covered

         Entities have abandoned their legacy TPA and have begun contracting with CVS for 340B Program TPA

         services as a result of the tie. CVS’s tying of 340B Program TPA services to the Contract Pharmacy

         services of CVS retail and specialty pharmacies also harmed, and continues to harm, consumers.

         Consumers of the services – here, the hospitals and other Covered Entity healthcare providers – are

         harmed as they are forced to pay higher prices for a service that they do not want to purchase from



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         Wellpartner. They also faced increased costs stemming from the mandated switch to Wellpartner, and in

         some cases had to expend additional funds to manage two 340B Program TPA services vendors.

         Downstream consumers – indigent New Yorkers who use the expanded services afforded by Covered

         Entities’ 340B Savings – were also harmed, as, after the tie was implemented, Covered Entities were

         forced to remit a larger portion of their 340B Savings to CVS and its Wellpartner subsidiary than they

         would have absent the tie.

                109.      There is no valid procompetitive justification for CVS’s implementation of its unlawful

         tie. CVS’s internal rule (prior to the Wellpartner acquisition) was to limit its pharmacies to a Contract

         Pharmacy relationship with a single Covered Entity. It was not required by any federal or state law, rule,

         or regulation.

                110.      CVS pursued a program that was anticompetitive, rather than adopt a less restrictive

         alternative to address the administrative burden of contracting with multiple Covered Entities. Prior to

         the Wellpartner acquisition, CVS was developing a “backbone” model that would ease CVS’s

         administrative burden when dealing with multiple Covered Entities. Rather than pursue that option, CVS

         decided to acquire Wellpartner and then implement an illegal tie in order to increase its revenues in the

         340B space. Argument to the contrary is pretextual for a greedy – and so far, successful – attempt to

         make a killing at the expense of competition and vulnerable health care providers and their communities.

                111.      New York, its patients and consumers, and New York Covered Entities have suffered and

         continue to suffer harm as a result of CVS’s anticompetitive conduct. This harm is of a type that the

         antitrust laws were intended to prevent.

                112.      To stop these ongoing harms and prevent recurrence, Plaintiff State of New York requests


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         that the Court order appropriate equitable relief, including an injunction against CVS’s anticompetitive

         tie and possibly, an order that Wellpartner be divested. Plaintiff State of New York also seeks an award

         of civil penalties, and equitable monetary relief including disgorgement and/or restitution.

                                                         COUNT 1

             Anticompetitive Contracts, Agreements, and/or Arrangements in Violation of New York’s
                           Donnelly Act, New York General Business Law § 340 et seq.
                113.    The People restate, re-allege, and incorporate by reference each of the allegations set

         forth in paragraphs 1 through 112 above as if fully set forth herein.

                114.    CVS’s conduct violates the Donnelly Act, N.Y. Gen. Bus. L. 340 et seq., which prohibits,

         inter alia, “[e]very contract, agreement, arrangement, or combination whereby [a] monopoly in the

         conduct of any business, trade or commerce or in the furnishing of any service in this state, is or may be

         established or maintained, or whereby [c]ompetition or the free exercise of any activity in the conduct of

         any business, trade or commerce or in the furnishing of any service in this state is or may be

         restrained…is hereby declared to be against public policy, illegal and void.”

                115.    Through its contracts, agreements, arrangements and/or combinations, CVS has

         unlawfully tied access to Contract Pharmacy services at CVS retail and specialty pharmacies to use of

         CVS Wellpartner 340B TPA services.

                116.    CVS has sufficient economic power in the tying market, the CVS 340B Contract

         Pharmacy Market, because Covered Entities cannot divert 340B-eligible patient prescriptions to any

         other Contract Pharmacy. Engaging in Contract Pharmacy relationships with CVS pharmacies is the sole

         means by which Covered Entities can realize 340B Savings from their patient prescriptions that are

         filled at CVS pharmacies.


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                 117.      CVS has coerced Covered Entities in New York to CVS Wellpartner 340B TPA Services

         as a condition to access the CVS 340B Contract Pharmacy Market, over which CVS has market power.

         This constitutes a per se unlawful tying arrangement. It is also a violation under the “rule of reason.”

                 118.      The tying product (CVS 340B Contract Pharmacies) and the tied product (CVS’

         Wellpartner in the 340B TPA Services Market) are distinct. CVS’s unlawful tying arrangement ties two

         separate products that are in two separate markets, leveraging CVS’s power over the tying product to

         foreclose competition in the tied product.

                 119.      CVS’s conduct has foreclosed, and continues to foreclose, competition in the 340B TPA

         Services Market, affecting a substantial volume of commerce in this market.

                 120.      CVS has thus engaged in a per se illegal tying arrangement and the Court does not need

         to engage in a detailed assessment of the anticompetitive effects of CVS’s conduct or any purported

         justifications.

                 121.      In the alternative, even if arguendo CVS’s conduct does not constitute a per se illegal tie,

         the arrangement violates the rule of reason and is illegal, as there are no procompetitive justifications for

         the tie. Moreover, Sentry’s “backbone” solution that CVS rejected (see infra) would have constituted a

         less restrictive alternative to the tie. Therefore, even if there were a procompetitive justification, it is

         outweighed by the competitive harm.

                 122.      New York consumers and businesses have been harmed by CVS’s conduct in a manner

         that the antitrust law was intended to prevent. This harm is ongoing and will continue until this Court

         issues an order enjoining CVS from enforcing its illegal tie against New York Covered Entities,

         including equitable relief which could include an injunction and an order of divestiture.


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                123.     To prevent these ongoing harms and any recurrence, the State of New York requests that

         that Court issue an order enjoining Defendants’ anticompetitive conduct and ordering such other and

         further equitable relief as this Court may deem appropriate to restore competitive conditions and lost

         competition and to prevent future violations, including divestiture or reconstruction of illegally acquired

         businesses or business lines.

                124.     The State of New York request that the Court use its inherent equitable powers to order

         appropriate restitution and/or disgorgement to remedy the harms inflicted since the implementation of

         this scheme.

                125.     The State of New York also requests that the Court order civil penalties and an

         assessment under the Donnelly Act, pursuant to N.Y. Gen. Bus. Law §§ 342 and 342-a.

                                                         COUNT 2

                               Illegality in Violation of New York Executive Law § 63(12)

                126.     The People restate, re-allege, and incorporate by reference each of the allegations set

         forth in paragraphs 1 through 125 above as if fully set forth herein.

                127.     Defendants’ conduct violates § 63(12) of New York’s Executive Law, in that Defendants

         engaged in repeated and/or persistent illegal acts – violations of Section 340 et seq of the Donnelly Act –

         in the carrying on, conducting, or transaction of business within the meaning and intent of Executive

         Law § 63(12).

                128.     The State of New York respectfully requests that the Court enjoin the Defendants’

         anticompetitive conduct and order such other and further equitable relief as this Court may deem

         appropriate to restore competitive conditions and lost competition and to prevent future violations,

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         including divestiture or reconstruction of illegally acquired businesses or business lines.

                129.    The State of New York also respectfully requests that the Court order that Defendants

         disgorge its unjust gains and provide appropriate restitution.

                WHEREFORE, New York General Business Law § 342 authorizes this Court to issue a

         permanent injunction for violations of New York’s Donnelly Act; New York General Business Law

         § 341 authorizes this Court to award penalties for violations of the Donnelly Act; and New York

         Executive Law § 63(12) authorizes this Court to grant equitable relief based on the Defendants’ repeated

         and/or persistent violation of the Donnelly Act, Plaintiff demands judgment against Defendants as

         follows:

                        a.      Adjudging and decreeing that Defendants have violated the Donnelly Act, N.Y.

                General Business Law §§ 340 et seq.;

                        b.      Adjudging and decreeing that Defendants have violated N.Y. Exec. Law § 63(12);

                        c.      Enjoining the illegal conduct;

                        d.      Ordering Defendants to immediately inform all New York Covered Entities that

                exclusive use of Wellpartner is no longer required;

                        e.      Ordering the divestiture of Wellpartner, with conditions that the buyer not engage

                in similar conduct;

                        f.      Awarding New York all equitable relief, including equitable monetary relief such

                as disgorgement and restitution, as the Court finds necessary to redress and prevent recurrence of

                Defendants’ violations of the Donnelly Act and Executive Law § 63(12);

                        g.      Awarding maximum New York civil penalties, pursuant to N.Y. Gen. Bus. Law

                § 341 for each violation;

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                        h.     Awarding New York an additional allowance of twenty thousand dollars, pursuant

                  to N.Y. Gen. Bus. Law § 342;

                        i.     Awarding New York costs and fees associated with this action; and

                        j.     Granting such other and further relief as this Court deems just and proper.


         Dated:         New York, New York           LETITIA JAMES
                        November 2, 2022             Attorney General of the State of New York



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